                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 ARTHUR HILL,                                  )
                                               )
                      Plaintiff,               )
                                               )
               v.                              )               1-22-CV-37
                                               )
 CARVANA, LLC and                              )
 BRIDGECREST CREDIT                            )
 COMPANY, LLC,                                 )
                                               )
                      Defendants.              )

                                          ORDER

       The plaintiff, Arthur Hill, asks the Court to reconsider its decision granting the

defendants’ motion to dismiss his claim under the Federal Odometer Act. He has done

little more than disagree with the Court’s decision, and he has not shown clear error or

manifest injustice. The motion will be denied.

       Mr. Hill moves for reconsideration of the Court’s dismissal of his Federal

Odometer Act claim, Doc. 21, pursuant to Rule 59(e) of the Federal Rules of Civil

Procedure. Doc. 24 at 1; Doc. 25 at 5. But Rule 59(e) applies only to final judgments.

See Fayetteville Invs. v. Com. Builders, Inc., 936 F.2d 1462, 1469 (4th Cir. 1991). The

order dismissing Mr. Hill’s Federal Odometer Act claim was not a final judgment, as it

did not dismiss all claims in the complaint.

       The Court’s order is nonetheless reviewable, though as an interlocutory order

under Rule 54(b). See U.S. Tobacco Coop. Inc. v. Big S. Wholesale of Va., LLC, 899

F.3d 236, 256 (4th Cir. 2018). Federal Rule of Civil Procedure 54(b) provides that “any




      Case 1:22-cv-00037-CCE-LPA Document 34 Filed 05/17/22 Page 1 of 3
order . . . that adjudicates fewer than all the claims . . . may be revised at any time before

the entry of a judgment adjudicating all the claims and all the parties’ rights and

liabilities.” Reconsideration under Rule 54(b) is appropriate on the following grounds:

(1) to account for newly discovered evidence; (2) to account for a change in applicable

law; or (3) to correct a clear error causing manifest injustice. See Carlson v. Bos. Sci.

Corp., 856 F.3d 320, 325 (4th Cir. 2017); Hatch v. DeMayo, No. 16-CV-925, 2021 WL

1124389, at *2 (M.D.N.C. Mar. 24, 2021), appeal filed, No. 21-1480 (4th Cir. Apr. 28,

2021).

         Mr. Hill has not identified any newly discovered evidence or any changes in

controlling law. Rather, he contends that the Court got it wrong. Doc. 24 at 1. But he

does little more than rehash the same arguments this Court already considered previously

in ruling on the motion to dismiss. This is not an appropriate basis for a Rule 54(b)

motion. See Carlson, 856 F.3d at 325. There is no productive reason for the Court to

explain, again, the reasons for its decision.

         To the extent Mr. Hill contends that it was error to rely on the unpublished opinion

in Gavin v. Koons Buick Pontiac GMC, Inc., 28 F. App’x 220, 223 (4th Cir. 2002) (per

curiam), Mr. Hill is mistaken. He is correct that unpublished decisions of the Fourth

Circuit are not binding, but these opinions are entitled “to the weight they generate by the

persuasiveness of their reasoning.” Collins v. Pond Creek Mining., 468 F.3d 213, 219

(4th Cir. 2006) (cleaned up). The Court explicitly found Gavin to be persuasive and cited

the decision accordingly. See Doc. 21 at 4 (citing Gavin as “persuasively holding . . . .”).

Nor did defense counsel violate Local Rule 7.2(c) by not attaching a copy of the decision

                                                2



      Case 1:22-cv-00037-CCE-LPA Document 34 Filed 05/17/22 Page 2 of 3
in Gavin to its brief. The rule makes clear that “published decisions include decisions

published in widely used reports and electronic databases, specifically including Westlaw

and LEXIS.” L.R. 7.2(b). Because Gavin is available on Westlaw, it is a published

decision under the Local Rules.

       Mr. Hill has not established that it was clear error to dismiss his Federal Odometer

Act claim, nor has he shown any manifest injustice that requires correction. His motion

for reconsideration will be denied.

       The parties are reminded that “[t]he extravagant use of adverbs is distracting at

best and constitutes little more than opinions of [the parties]. Indignation does not

support a claim for relief or justify a motion to dismiss, and histrionics have no place in

legal briefs.” Hayes v. Self-Help Credit Union, No. 13-CV-880, 2014 WL 4198412, at *2

(M.D.N.C. Aug. 22, 2014).

       It is ORDERED that Mr. Hill’s motion for reconsideration, Doc. 24, is DENIED.


      This the 17th day of May, 2022.




                                           __________________________________
                                            UNITED STATES DISTRICT JUDGE




                                              3



      Case 1:22-cv-00037-CCE-LPA Document 34 Filed 05/17/22 Page 3 of 3
